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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )       Case No.: 1:18-cr-218 (TSC)
                                            )
MARIIA BUTINA, a/k/a                        )
MARIA BUTINA,                               )
                                            )
       Defendant.                           )
                                            )

                NOTICE OF WITHDRAWAL OF DEFENDANT
      MARIA BUTINA’S RULE 17(c) SUBPOENA TO AMERICAN UNIVERSITY

       On October 31, 2018, the court issued an order (Doc. 48) granting Defendant Maria

Butina’s motion (Doc. 39) to issue a Rule 17(c) subpoena to American University (the

“Subpoena”), a return copy of which was filed with this court on November 23, 2018 (at Doc. 56-

1). After further review and consultation with the Office of General Counsel for American

University, as encouraged by the court, Defendant Maria Butina, by counsel, files this notice to

inform the court and counsel that she hereby withdraws the Subpoena.

Dated: December 14, 2018                    Respectfully submitted,

                                                    /s/
                                            Robert N. Driscoll (DC Bar No. 486451)
                                            Alfred D. Carry (DC Bar No. 1011877)
                                            McGlinchey Stafford PLLC
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                                            Counsel for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed in this case with the

clerk of the court and served on this 14th day of December, 2018 through the court’s CM/ECF

system, which will send notification of this filing to all counsel of record for the government. And

I further certify that I have served a copy of the same on this 14th day of December, 2018 by first-

class mail, postage prepaid, and email to the following:

       American University | Office of General Counsel
       Attn: Justin A. Perillo, Associate General Counsel
       4400 Massachusetts Avenue NW
       Washington DC 20016
       perillo@american.edu
       Counsel for American University

                                              /s/Alfred D. Carry
                                              Alfred D. Carry (DC Bar No. 1011877)
                                              Counsel for Defendant




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